                Case 3:13-cv-00579-MO                     Document 537-1               Filed 10/10/14       Page 1 of 3
                                           IN THE UNITED STATES DISTRICT COURT

                                                   FOR THE DISTRICT OF OREGON

                                                           PORTLAND DIVISION


MENTOR GRAPHICS CORPORATION,
an Oregon Corporation,                                                        Case No. 3:10-cv-00954-MO (Lead)
                                                                                    Case No. 3:12-cv-01500-MO
      Plaintiffs and Counter-Defendant,                                             Case No. 3:13-cv-00579-MO
               v.
                                                                                                  VERDICT FORM
EVE-USA, INC., a Delaware corporation,
and SYNOPSYS EMULATION AND
VERIFICATIONS.A., formed under the
laws of France,

      Defendants and Counter-Claimants.



                                                           VERDICT FORM

                  When answering !he following questions and filling out this Verdict Form, please follow the
          directions provided !hroughout the form. Your answer to each question must be unanimous. Some
          of the questions contain legal !em1s !hat are defined and explained in detail in the Jury Instrnctions.
          Please refer to the Jmy Instructions if you arc unsure about the meaning or usage of any legal term
          that appears in the questions below.

                  We, the jury, unanimously agree to the answers to !he following questions and return them
          under the instructions of this Court as our verdict in this case.

                                           FINDINGS ON INFRINGEMENT CLAIMS

          I.        Flexible Probes

                    A.           Direct Infringement

                             I. Has Mentor Graphics proven that it is more likely than not that Synopsys' use,
                    sale, or importation of emulators using flexible probes infringes one or more asse1ted ciaims
                    of the Mentor Graphics patent?

                                                                                  Verdict on direct
                                           Claim
                                                                              ____ }l!fi:.ii.tg~!ll~l1L. ______·.
                         '                    1                                 l&ves            Ono
                                             24                                  l8!. yes       Ono                 !
                                             26                                   Xfves         Ono
                                      -   --·--------
                                             27                                   Xl yes        Ono
                                          --~~---·---·---···---·-----   ---
                                             28                                   :8fves        Ono


                    B.           Inducing Infringement

                            2. Has Mentor Graphics proven that it is more likely than not that Synopsys induced
                    infringement of one or more claims of the Mentor Graphics patent tlirough Synopsys' use,
                    sale, or importation of emulators using flexible probes?

                                                                                V~r.di,t_9x;  induced
                                           Claim
                                                                                      infringement      .



                                             I                                   1; 'ves        Ono
                         -·---
                                            24                                  [ :ves          Ono
                                            26                                  ·c yes
                                                                                   1            0110
                                            27                                  Jll1 ves        Ono
                                            28                                   i:1§ ves       Ono




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      C.           Contributory Infringement

             3. Has tvfentor Graphics proven that it is more likely than not that Synopsys
      contributed to the infiingement of one or more claims of the Mentor Graphics patent
      S~opsys' use, sale, or importation of emulators using flexible probes?

               .                                      . Verdict on contributory
                            Claim.                          ·infrinf!:ement
                               1                             xi yes        Ono
                              24                             \(! ves       Ono
                              26                            1'$il.yes      Ono
                              27                            'i<'ves        Ono
           I                  28                            X ves          Ono


II.   Value Change Probes

      A.           Direct Infringement

              4. Has Mentor Graphics proven that it is more likely than not that Synopsys' use,
      sale, or importation of emulators using value change probes infringes one or more asserted
      claims of the :Mentor Graphics patent?
                        .
                                                             Verdict on direct ·
                            Claim
                                                           · · ·infringeincrit ..
                               I                            >'Ives         Ono
                              24                            l? yes         Ono
                              26                            ~ves           Ono
                              27                            ~xes           Ono
                              28                          -Wves            Ono


      B.           Inducing Infringement

              5. Has Mentor Graphics proven that it is more likely than not that Synopsys induced
      infringement of one or more claims of the tvfentor Graphics patent through Synopsys' use,
      sale, or importation of emulators using value change probes'?
                                                                                   ..
                                                        · Verdict on induced
                            Claim
                                                            infringement ·
                               1                 · - - - ~~_s_ _ _[] no
                              24                            !Rt'vcs       D no
                              26                            fl(I ves      Ono
                              27                            ~yes          Ono
                              28                            l);(i yes     Ono


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         C.              Contributory Infringement

               6. Has Mentor Graphics proven that it is more likely than not that Synopsys
        contributed to the infringement of one or more claims of the Mentor Graphics patent through
        Synopsys' use, sale, or importation of emulators using value change probes?
               .   ..     .              "   ....   "            ..
                                           Verdicfon eontributory ·
                               ..    Claim              ..
                                             ·.·     infrin2ement .. . - ···- -
                           l                 .[{1 yes          Ono
                          24                  !&ves            0 no
                          26                   l:'5j >'es      Ono
                          27
              ---··--·-·---23--·------ ~---·-~yes             Ono
                                                                                                  --
                                                     vcs      Ono




                                    FINDINGS ON DAlWAGES (IF APPLICABLE)

       If you answered question !, 2, 3, 4, Sand/or 6 "yes," proceed to answer the remaining
questions. If you did not so answer, do not answer !he remaining questions and proceed to check
and sign the verdict fonn.

       4. \Vhat lost profits, if any, did Mentor Graphics show it more likely than not suffered as a
result of sales that it would have made but for Synopsys' infringement?



        5. For those infringing sales for which Mentor Graphics has not proved its entitlement to
lost profits, what has it proved it is entitled to as a reasonable royalty:

                        a) royalty payment off>% of$418'i21                Z~,~fn total sales;
                        OR

                        b) one-time payment o f $ - - - - - -



You have now reached the end of the verdict fonn and should review it to ensure it accurately
reflects your unanimous determinations. The Presiding Juror should then sign and date the verdict
form in the spaces below and notify the Security Guard that you have reached a verdict. The
Presiding Juror should retain possession of the verdict fo1m and bring it when the jury is
brought back into the com1room.

                                                                      ,.
DATED:    Ctf:z:&s) \()                 '2014                  By:'
                                                               Presiding Juror


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